Case 6:18-cv-00064-RBD-GJK Document 105 Filed 04/22/19 Page 1 of 5 PageID 1766




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                              CASE NO.: 6:18-cv-00064-RBD-GJK



 PROXICOM WIRELESS, LLC,
      Plaintiff,

 vs.

 MACY’S INC; and MACY’S FLORIDA STORES,
 LLC,


       Defendants.
 __________________________________________/



   JOINT MOTION, AND SUPPORTING MEMORANDUM OF LAW, FOR TWO DAY
     EXTENSION WITHIN WHICH TO SERVE REBUTTAL EXPERT REPORTS


        Plaintiff, PROXICOM WIRELESS, LLC, (“Proxicom’) and Defendants, MACY’S INC.

 and MACY’S FLORIDA STORES, LLC (collectively, “Macy’s”) (Proxicom and Macy’s are

 hereinafter sometimes collectively referred to as the “Parties”), respectfully and jointly move for

 an additional two (2) day extension of their current May 6, 2019 service deadline for rebuttal

 expert reports, through and including May 8, 2019.
Case 6:18-cv-00064-RBD-GJK Document 105 Filed 04/22/19 Page 2 of 5 PageID 1767



                                                             CASE NO.: 6:18-cv-00064-RBD-GJK



        MEMORANDUM OF LEGAL AUTHORITY IN SUPPORT OF THE REQUEST

        The Parties have been diligent in timely preparing and serving all of their expert reports.

 Shortly after opening expert reports were served, Proxicom served a supplementation of the

 damages report by its expert, Mr. Jim W. Bergman, of less than five (5) pages to address an

 agreement regarding the Asserted Patents that was executed after opening expert reports were

 served. Macy’s requested a two-day extension of the date for service of rebuttal expert reports,

 and Proxicom has agreed to extend the deadlines for Macy’s rebuttal expert damages report and

 rebuttal infringement report by two (2) days. Additionally, the Parties are in agreement that

 Proxicom’s expert invalidity rebuttal report should also be extended by two (2) days, so that the

 deadline for service of all three (3) expert rebuttal reports is the same date, May 8, 2019.

        The Court may grant an extension of time upon a showing of “good cause” as

 contemplated by Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure. In considering the

 Parties’ joint motion, the Court should find that there is “good cause” to extend Defendants’

 deadline to serve their respective expert rebuttal reports, as set forth above, by another two (2)

 days, through and including May 8, 2019. See Jozwiak v. Stryker Corporation, et al., 2010 WL

 743834 *3 (M.D. Fla. 2010) (“good cause” under Rule 6(b)(1)(A) found where motion to extend

 was filed within filing deadline, defendant’s counsel averred that motion to dismiss was nearing

 completion, and motion to extend was unopposed); see also United States v. Weiss, et al., 2010

 WL 750348 *2 (M.D. 2010) (even where motion to extend is made after the time has expired

 under Rule 6(b)(1)(B), “Rule 6(b) is a somewhat ‘elastic concept’ and is not limited strictly to

 omissions caused by circumstances beyond the control of the movant.” In exercising its



                                                   2
Case 6:18-cv-00064-RBD-GJK Document 105 Filed 04/22/19 Page 3 of 5 PageID 1768



                                                             CASE NO.: 6:18-cv-00064-RBD-GJK

 discretion in deciding whether “neglect is excusable,” the Court should consider: “(1) the danger

 of prejudice to the opposing party; (2) the length of the delay and its potential impact on judicial

 proceedings; (3) the reason for the delay, including whether it was within the reasonable control

 of the movant; and (4) whether the movant acted in good faith. … Primary importance should be

 accorded to the absence of prejudice to the nonmoving party and to the interest of efficient

 judicial administration.” In addition, it is well established that District Courts have the inherent

 authority to manage and control their dockets. See, e.g., Equity Lifestyle Props., Inc., v. Fla.

 Mowing and Landscape Serv., Inc., 556 F. 3d 1232, 1240 (11th Cir. 2009) (citing Chambers v.

 NASCO, Inc., 501 U.S. 32, 43 (1991)).

        Pursuant to the Case Management and Scheduling Order (“CMO”) (Dkt. No. 33 at p. 11),

 Section II.B.2, the Parties state that: (1) this motion is a joint motion; (2) this motion does not

 require additional discovery; (3) all parties agree that the extension will not affect the dispositive

 motions deadline and trial date; (4) all parties agree that any discovery conducted after the

 dispositive motions date of August 31, 2019 (Dkt. No. 33 at p.8) will not be available for

 summary judgment purposes; and (5) no party will use the granting of the extension in support of

 a motion to extend another date or deadline. Nor will the granting of this motion affect the June

 28, 2019 expert discovery deadline in the CMO (Dkt. No. 33 at page 8).

        WHEREFORE, the Parties respectfully request that the Court enter an Order, which

 grants this joint motion and provides that the Parties shall have through and including May 8,

 2019 within which to serve their respective expert rebuttal reports, as requested above.




                                                   3
Case 6:18-cv-00064-RBD-GJK Document 105 Filed 04/22/19 Page 4 of 5 PageID 1769



                                                CASE NO.: 6:18-cv-00064-RBD-GJK



 Dated: April 22, 2019                    Respectfully submitted,


 /s/ Christina M. Finn                /s/ Gary T. Stiphany

 Taylor F. Ford                       Gary T. Stiphany
 Florida Bar No.: 0041008             Florida Bar No.: 342513
 Robyn M. Kramer                      STIPHANY LAW
 Florida Bar No.: 0118300             80 S.W. 8th Street, Suite 3100
 KING, BLACKWELL, ZEHNDER &           Miami, FL 33130
 WERMUTH, P.A.                        Telephone: (305) 536-8882 Fax.
 25 E. Pine St.                       Facsimile: (305) 579-4722
 P.O. Box 1631                        Email: Gary@StiphanyLaw.com
 Orlando, FL 32802-1631
 Telephone: (407) 422-2472            Anthony F LoCicero (Pro Hac Vice)
 Facsimile: (407) 648-0161            Richard S. Mandaro (Pro Hac Vice)
 Email: tford@kbzwlaw.com             Benjamin Charkow (Pro Hac Vice)
 Email: rkramer@kbzwlaw.com           Amster, Rothstein & Ebenstein LLP
                                      90 Park Avenue
 Denise M. De Mory (Pro Hac Vice)     New York, New York 10016
 Christina M. Finn                    Telephone: (212) 336-8000
 Corey Johanningmeier                 Facsimile: (212) 336-8001
 BUNSOW DE MORY LLP                   Email: ALocicero@ARElaw.com
 701 El Camino Real                   Email: RMandaro@ARElaw.com
 Redwood City, CA 94063               Email: BCharkow@ARElaw.com
 Telephone: (650) 351-7248
 Facsimile: (650) 351-7253
 Email: ddemory@bdiplaw.com
 Email: jbeynon@bdiplaw.com
                                      Counsel for Defendants,
 Chris J. Coulson (Pro Hac Vice)      Macy’s, Inc.
 BUNSOW DE MORY LLP                   Macy’s Florida Stores, Inc.
 101 Brambach Rd.
 Scarsdale, NY 10583
 Telephone: (646 502-6973
 Facsimile: (650) 351-7253
 Email: ccoulson@bdiplaw.com

 Counsel for Plaintiff
 Proxicom Wireless, LLC




                                      4
Case 6:18-cv-00064-RBD-GJK Document 105 Filed 04/22/19 Page 5 of 5 PageID 1770



                                                             CASE NO.: 6:18-cv-00064-RBD-GJK



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on April 22, 2019, I caused to be electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of

 electronic filing to all counsel of record.



                                               /s/ Gary T. Stiphany
                                               Gary T. Stiphany




                                                   5
